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IN THE UNITED STATES DISTRICT COURT — pe
FOR THE DISTRICT OF NEW MEXICO; 3:15 °

CARL WILSON, an individual, and
AUDREE WILSON, an individual,

Plaintiffs,

v. No. CIV 94-892 JC/LFG

HARPERCOLLINS PUBLISHERS INC.,
a Delaware Corporation,

Defendant.

DEFENDANT’S REPLY TO PLAINTIFFS’ RESPONSE TO MOTION
FOR PRECLUSION ORDER UNDER 37(c)(1) FOR FAILURE TO COMPLY WITH
RULE 26(a)(2) CONCERNING DISCLOSURE OF EXPERT REPORTS

In their response to defendant’s motion to exclude the expert testimony of Lashner,

Kaplan, and Fey plaintiffs fail to address, or admit by their silence, their material

noncompliance with Rule 26(a)(2). Instead, plaintiffs treat Rule 26(a)(2) as if it were a
precatory suggestion to be ignored at the convenience of the parties and then taken seriously
only when sanctions are threatened. By failing to contest the statements made in defendant’s

brief-in-chief and by seeking to supplement their grossly inadequate reports, plaintiffs have

admitted that the original reports materially failed to comply with Rule 26(a)(2).

Moreover, plaintiffs fail to offer any justification for their failure to submit reports in
compliance with Rule 26(a)(2). Nowhere in the response is there a serious attempt to explain,
excuse, or justify the failure to provide the information required by Rule 26(a)(2). Rule
26(a)(2) however, is not some arcane procedural requirement whose contours are ambiguous
and unclear. It specifically sets forth the information to be included in an expert report,

virtually none of which was provided in the original submissions and most of which remains

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absent from the plaintiffs’ attempts to supplement. Yet plaintiffs offer no reason why
Lashner’s data was not submitted earlier, why Kaplan’s report included only part of his
opinion and none of the supporting data, why Kaplan was never shown the records which he
claimed to need to render his opinion (records in the sole and exclusive possession of
businesses, Brothers Records and Brothers Tours, in which plaintiff Carl Wilson was a
shareholder), why Lashner, Kaplan and Fey failed to provide the specific information on
compensation and testimonial background, and why Fey’s declaration was utterly bereft of
supporting data.

Plaintiffs’ breach of Rule 26(a)(2) has caused the very prejudice which the report
requirements of the 1993 amendments were designed to eliminate. Defendant’s own expert
reports are due on January 17, 1997. Plaintiffs’ initial and continued failure to provide the
required information has interfered significantly with the preparation of its own witness
reports. The failure to comply with Rule 26(a)(2) leaves defendant uncertain of the scope and
nature of the opinions offered, deprives its own experts of the underlying data on which the
opinion is based, and places defendant in the disadvantageous position of responding to
inchoate opinions supported by only fragmentary data. The substantial deficiencies of the
original (and the supplemental) should require preclusion of expert testimony.

Lashner Report

The initial submission by Dr. Lashner was admittedly devoid of the supporting data
required under Rule 26(a)(2), the pertinent information concerning fees, and the relevant
background testimonial information. In the subsequent submissions, Lashner now claims to

have provided the omitted information, yet plaintiffs offer no justification, much less

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substantial justification, for their failure to provide the information by November 15, 1996,
when it was due.

Moreover, Lashner’s statement of testimonial background in her original and
supplemental submission raises a serious issue of misleading the court and counsel. Lashner’s
affidavit represents that she has testified "in courts in Houston, Texas and Denver, Colorado"
as well as having given "depositions and submitted" affidavits in various other contested
matters" in several states, thus creating the distinct impression of general judicial acceptance.
See Lashner Affidavit, para. 26. But defendant’s data base search of Lashner’s name has
produced a shockingly different picture of judicial acceptance of Dr. Lashner’s testimony. In

Tilton v. Capital Cities/ABC Inc 938 F. Supp. 751 (N.D. Okla. 1995), aff'd, 95 F.3d 32 (10th

Cir. 1996); World Boxing Council v. Cosell, 715 F. Supp. 1259 (S.D.N.Y. 1989);

Brueggemeyer v. American Broadcasting Cos., 684 F. Supp. 452, 464 (N.D. Tex. 1988); and

Fish v. Heatherdowns Country Club Ass’n, 1991 WL 97324 *4 (Ohio. Ct. App. 1991); the

courts rejected her claimed expertise and proffered testimony as pseudo-scientific, invasive of
the proper role of the court and jury, and likely to result in confusion and prejudice.

Plaintiff suggests that Daubert and admissibility issues will be considered in a separate
motion to be filed by defendant. While defendant agrees that the Daubert and admissibility

issues should be deferred until the briefing on its motion to exclude is completed’, the

1. Contrary to plaintiffs’ suggestion, the Daubert issue was raised in the initial brief,
not to obtain a ruling on admissibility or to add "color" but rather to alert the court to
it at the earliest possible time. Under the prevailing case law a party opposing
testimony must bring a potential Daubert problem to the attention of the court to allow
hearings to be conducted well in advance of trial.

(continued...)

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inadequacy of the disclosures and the misleading nature of her statement of testimonial
background directly relates to compliance with Rule 26(a)(2). An expert seeking to give
complete and accurate information about prior testimony would not imply wholesale judicial
acceptance of her expertise without mentioning four published opinions (one within the last
four years) which have excluded her testimony in libel cases. The Court should consider this
artifice in ruling on the appropriate sanction for Lashner’s failure to comply with Rule
26(a)(2).

Kaplan Report

Plaintiffs attempt to sidestep the numerous cited deficiencies in Kaplan’s "report" (see
Br. at 6-8) by misleadingly stating that "the deficiency asserted by Defendant is that the
accounting records [Mr. Kaplan] relied on were not attached to his declaration." Plaintiff's
Br. 3. They then assert that this deficiency has somehow been "cured" by the submission of a
second declaration on December 11, 1996 in response to HarperCollins’ motion to preclude
and for sanctions.

Once again, neither plaintiffs nor Mr. Kaplan offer any justification -- let alone a
"substantial justification," as is required by Rule 37(c)(1) -- for failing to comply with Rule
26(a)(2)(B) in the first submission. Indeed, Mr. Kaplan states that he has been the accountant
for the Beach Boys corporations, Brother Records and Brother Tours, since January 1994. As

such, he had access to the data on Beach Boys touring and merchandising revenues long

1. (...continued)
McKnight v. Johnson Controls, Inc., 36 F.3rd 1396 (8th Cir. 1994); Robinson v.
Missouri Pacific R. Co. 16 F.3d 1083 (10th Cir. 1994)

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before November 15, 1996, when plaintiffs’ expert reports became due. In short, there is no
justification for Mr. Kaplan’s failure to submit a complete report on November 15, 1996.
Plaintiffs either purposefully evaded the requirements of Rule 26(a)(2)(B) or exercised
inexcusable negligence in submitting Mr. Kaplan’s initial declaration. Rule 37(c)(1) was
expressly designed to sanction such conduct by precluding the recalcitrant party from using
"as evidence at a trial, at a hearing, or on a motion any witness or information" that was not
disclosed.

Even if plaintiffs had been able to offer a "substantial justification" for their failure to
comply with Rule 26(a)(2)(B) on November 15th, Mr. Kaplan’s December 11th "declaration"
still fails to comply with the Rules on expert disclosures and should be precluded for the
following reasons:

First, Mr. Kaplan’s new declaration goes far beyond the type of "supplementation" that
is contemplated by Rule 26(e)(1). For example, Mr. Kaplan’s new declaration makes
assertions concerning an alleged decline in "merchandising revenues," yet, the topic of
merchandising revenue was not even mentioned in Mr. Kaplan’s original submission. In
addition, Exhibit 5 to Mr. Kaplan’s new declaration contains documents regarding
merchandising revenue which were never even produced to HarperCollins in discovery --
notwithstanding the fact that they are clearly responsive to Request No. 9 of HarperCollins
First Set of Requests for the Production of Documents (which was served in June, 1996), as
well as Request No. 13 of the Subpoena Duces Tecum HarperCollins served on Brother
Records and Brother Tours (corporations in which plaintiff Carl Wilson is an officer and

principal shareholder) in September. Plaintiffs’ belated use of these documents in Mr.

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Kaplan’s untimely amended declaration is inexcusable. It is, however, wholly consistent with
their attitude toward discovery obligations throughout this litigation.

Second, Mr. Kaplan’s revised declaration contains new "schedules" (Exhibits 2, 3 and
4) which purport to "summarize" his analysis of the alleged decrease in touring and
merchandizing revenues since 1991. Plaintiffs do not explain why Mr. Kaplan’s original
declaration failed to disclose any of the data that he "summarizes" on these schedules, even
though that data was clearly available to Mr. Kaplan long before his report became due on
November 15th. This simply is not the inadvertent type of omission that parties should be
allowed to "cure" through supplementation. It reflects a purposeful and persistent effort on
the part of the plaintiffs to resist meaningful discovery on damages.

Third, Mr. Kaplan’s supplemental declaration still fails to comply with Rule
26(a)(2)(B) because it neglects to disclose the bases for his conclusions. For example, Mr.
Kaplan fails to disclose how he "computed [the] show per year averages and revenue per
show averages" from the handwritten "gig sheets" on which he claims to rely. Thus,
HarperCollins is left completely in the dark as to whether Mr. Kaplan based his analysis on
the "contract price," the "total due,” the "total received" or some other number or combination
of numbers reflected on the "gig sheets." This is no small or "inadvertent" omission given
that the "gig sheets" contain thousands of individual handwritten entries over a thirteen year
period and do not even reflect annual totals. It is extraordinarily difficult, if not impossible,
for HarperCollins’ financial expert to comment, in any meaningful way, upon the validity and
accuracy of Mr. Kaplan’s analysis if forced to make guesses about what Mr. Kaplan may or

may not have done. Rule 26(a)(2)(B) expressly required Mr. Kaplan to provide this

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information. The fact that he has not has prejudiced HarperCollins in its ability to provide a
meaningful response.

Fourth, Mr. Kaplan fails to disclose his reason for excluding certain data from his
analysis. For example, the "explanation" sections of his Exhibits 2, 3 and 4 indicate that
certain foreign tours and benefit concerts were excluded from the calculations. Why? To
what effect? He never explains. One also wonders what justification Mr. Kaplan might have
for focusing his analysis on "gross" revenues when "net" revenues typically form the basis for
lost earnings calculations. No reason is supplied.

Fifth, Mr. Kaplan fails to give any indication as to how his analysis is relevant to Carl
Wilson’s claims for "special damages." For example, is it Mr. Kaplan’s opinion that the cited
decline in gross touring and merchandizing revenues was caused solely by the publication of
the book as opposed to any number of factors which could influence the number of shows the
group performed in a given year? Once again, Mr. Kaplan’s amended declaration is silent on
this issue. He is likewise silent on whether it is his opinion that Mr. Wilson is entitled to
recover the entire amount Mr. Kaplan asserts has been "lost" by the group as a whole. If so,
Mr. Kaplan neglects to explain how it is that Brother Records and Brother Tours have sued
HarperCollins to recover for the very same alleged "lost revenues" in state court in New
Hampshire.

Finally, Kaplan again fails to state "the compensation to be paid for the study and
testimony." He provides only his hourly rate, not his total payments for the work performed.

In the event that the Court should decide not to bar entirely Mr. Kaplan’s testimony, it

should, at a minimum, enter an order precluding the plaintiffs (and Kaplan) from offering any

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expert evidence that departs in any way, from the opinions, data, or methodology used in his
original report.

In his original report, Kaplan presents an opinion on only one source of lost profits:
touring revenue. Kaplan should not be allowed to offer an opinion on any other source of
economic damage. Moreover, the court should preclude Kaplan or any other expert from
using any data other than that specifically included in the report. If the data chosen is
unrepresentative or if it is shown to be unreliable, Kaplan should not be allowed to
supplement again or to rely on data not presented in the report. In short, to the extent it rests
on data, Kaplan’s opinion must be limited to the supporting data provided in the original
report, not data yet to be disclosed.

Finally, the court should bar Kaplan or any other expert from using a methodology for
calculating lost profits other than the one actually used in the report. Kaplan, for example,
used a gross revenue figure to compute damages without deducting expenses. Having adopted
this method for calculating damages, the admissibility of his opinion must rest or fall on the
methodology chosen, i. e., that lost profits can be calculable without deducting costs.

For all of the reasons stated above, the Court should preclude the admission of any
testimony from Mr. Kaplan as a sanction under Rule 37(c)(1) due to the numerous
deficiencies in his original and supplemental reports. Alternatively, the Court should enter an
order precluding Kaplan or any other plaintiffs’ expert (1) from testifying to any opinion on
economic damages other than those specifically set forth in his original report, (2) from using
or relying on any data not included or attached to that report, and (3) from employing or

using any other methodology for calculating damages other than that set forth in his report.

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Fey Report

The Court should exclude all testimony from expert Fey. Despite plaintiffs’
acknowledgement that Fey’s declaration fails to meet any of the requirements under Rule
26(a)(2) and the concomitant failure to supplement or cure in any way these deficiencies,
plaintiffs argue that these breaches of the rule should be forgiven because Mr. Fey is too busy
to provide additional information or cure the prior deficiencies. See Dumas Affidavit, para 4
("Mr. Fey’s assistant initially advised me that he was unavailable due to concert promotion
business. . ."). But plaintiffs never explain why the Fey report was not completed with the
required information in the first instance or why even a minimal gesture toward compliance
with Rule 26(a)(2) was not made in the original submission. Plaintiffs simply blink the
undeniable facts that they have had over two years within which to identify an expert and
prepare a report and that Fey’s submission admittedly fails to comply in any respect with the
requirements of Rule 26(a)(2).

What is particularly disturbing about the Fey declaration is its utter failure to identify
the sources for the information upon which he bases his conclusion of a link between the
book and unpopularity of the Beach Boys’ music. Because plaintiffs had identified four disc
jockeys in their answers to interrogatories, and had informed HarperCollins that these names
were supplied by Mr. Fey, HarperCollins presumed that these four were the persons on whom
Fey relied. Defendant has interviewed each person identified in plaintiffs’ interrogatory
responses as having knowledge and the results are astonishing. In each case the disc jockeys
either disclaimed knowledge that the book had been published or denied any awareness that

the Beach Boys music has been adversely affected by the book, and affirmatively stated that

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their decisions on whether to play Beach Boys music were based on the format of their music
shows and their audience’s musical preferences. See Affidavits of David Pratt (Exhibit 1), Jo
Meyers (Exhibit 2), Dominic Testa (Exhibit 3), and Paxton Mills (Exhibit 4). Moreover, two
of the disc jockeys stated that they first learned that they had been named as witnesses when
they were contacted by HarperCollins’ representatives seeking information concerning their
proposed testimony. To say the least, this conduct by plaintiffs and their expert was not what
the framers of the 1993 amendment to Rule 26 had in mind in providing information in expert
reports.

The suggestion that defendant forego any report and take Fey’s deposition in lieu of
the same is both arrogant and unacceptable. Rule 26(a)(2) was designed to provide the
essential information concerning the expert’s opinion before a deposition in the hope that the
deposition, if necessary at all, would be considerably reduced in duration. Plaintiffs are
attempting to shift to the defendant the burden and cost of rectifying their own material
breach of Rule 26(a)(2), while delaying the submission of this expert’s opinion until two
months after the initial report was due.

Finally, plaintiffs should not be granted leave to identify yet another expert. The court
gave ample opportunity to identify experts, and plaintiffs never filed a motion to extend the
time. Even after the deficiencies in the original submission were identified by the defendants,
plaintiffs have not provided any additional information to cure. If the court’s deadlines are
entitled to at least a modicum of respect, the sole remedy for plaintiffs’ and Mr. Fey’s failure
to submit a conforming report is to bar his testimony without leave to designate additional

experts to testify on the same issues.

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Respectfully Submitted,

RODEY, DICKASON, SLOAN, AKIN & ROBB, P.A.

By: thin) LZ Oe)

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Attorneys for Defendant
HarperCollins Publishers Inc.

We hereby certify that a copy

of the foregoing was mailed to
counsel of record this 29.4%

day of December, 1996.

RODEY DICKASON, SLOAN, AKIN & ROBB, P.A.

By Aha Leben

William S. Dixon ,

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

CARL WILSON, an individual, and
AUDREE WILSON, an individual,
Plaintiffs,
Vv. No. CIV 94-892 JC/LFG

HARPERCOLLINS PUBLISHERS, INC.,
a Delaware Corpcration,

Defendant.

AFFIDAVIT OF DAVID PRATT

STATE OF ARIZONA )
COUNTY OF MARICOPA )

I, David Pratt, being first duly sworn upon oath, depose and
state as follows:

1. I am a disc jockey with KUPD, a radio station in
Phoenix and host a show called “Pratt In The Morning" playing
contemporary rock and roll. The style of music which we play are
typified by the groups Guns ‘N Roses; Metallica; Van Halen;
AC/DC.

2. I have been a disc jockey for 16 .years in Phoenix and
do not believe that I have ever played a Beach Boys song on my
show. Although I like Beach Boys music, as a matter of style and
format, it simply does not fit into the preferences or tastes of
my audience.

3. I am completely unaware of the book entitled Wouldn’t

It Be Nice and have no knowledge that anything in that book has

caused a reduction in air time for Beach Boys songs in the

Phoenix area.

EXHIBIT

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4. My reason for not playing Beach Boys music relates to

the listening preferences and tastes of my audience and has

nothing to do with the publication of any material from a book

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DAVID PRATT

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day of December, sof
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1996.

My Commission Expires:

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

CARL WILSON, an individual, and
AUDREE WILSON, an individual,
Plaintiffs,
Vv. No. CIV 94-892 JC/LFG

HARPERCOLLINS PUBLISHERS, INC.,
a Delaware Corporation,

Defendant.

AFFIDAVIT OF JO MEYERS

STATE OF COLORADO )
) ss.

COUNTY OF DENVER )

I, Jo Meyers, being first duly sworn upon oath, depose and
state as follows:

1. I am a disc jockey on KIMN in Denver, Colorado and host
a morning radio show playing rock and roll music. I have been a
disc jockey in the Denver area for [3 years.

2. I apparently was listed as a witness by the Plaintiffs
in a case brought by some of the Wilson family against

HarperCollins.

3. I have never read the book Wouldn't It Be Nice and was

unaware of it until November , 1996.

4. I do not care for Beach Boys music and choose not to
play it because it does not fit into the format of my radio show
or my audience’s tastes.

5. I am unaware of any statements from the book Wouldn’t

It. Be Nice that have caused any reduction in air time for Beach

Boy music in the Denver, Colorado area.

EXHIBIT

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FURTHER AFFIANT SAYETH NOT.

ge MEYERS

SUBSCRIBED AND SWORN TO before me by Jo Meyers this OE

day of December, 1996.

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Notary Public -

My Commission Expires:

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

CARL WILSON, an individual, and
AUDREE WILSON, an individual,
Plaintiffs,
Vv. No. CIV 94-892 JC/LFG

HARPERCOLLINS PUBLISHERS, INC.,
a Delaware Corporation,

Defendant.

AFFIDAVIT OF DOMINIC TESTA

STATE OF COLORADO )
COUNTY OF DENVER )

I, Dominic Testa, being first duly sworn upon oath, depose
and state as follows:

1. I am a disc jockey with KIMN in Denver, Colorado and
host a morning rock and roll show. I have been a disc jockey in
the Denver area for \O years.

2. I was apparently listed as a witness by the Plaintiffs
in a lawsuit between some of the Wilson family and HarperCollins.
I was unaware that I was going to be listed as a witness before
representatives of the parties began calling me to find out what
I knew.

3. Before November, 1996 I was unaware that a book
entitled "Wouldn’t It Be Nice" had even been written. I have not
read the book and am not familiar with its contents.

4. I personally do not care for the Beach Boys style of
music. Neither the format of my show or the tastes and

preferences of my audience are compatible with their style of
EXHIBIT

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music. My reason for not playing their music is based on musical
taste and my audience’s strong preference for contemporary rock
and roll. That is the reason I do not play their music on my
show. I have not been influenced in anyway in my choice of songs
by any statements about the Beach Boys or their families.

5. I am unaware of any reduced air play for Beach Boys

music in the Denver area.

FURTHER AFFIANT SAYETH NOT.

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DOMINIC TESTA

SUBSCRIBED AND SWORN TO before me by Dominic Testa this

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Goth; day of December, 1996.

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Notary Public’

My Commission Expires:

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

CARL WILSON, an individual, and
AUDREE WILSON, an individual,
Plaintiffs,
Vv. No. CIV 94-892 JC/LFG

HARPERCOLLINS PUBLISHERS, INC.,
a Delaware Corporation,

Defendant.

AFFIDAVIT OF PAXTON MILLS

STATE OF COLORADO )
COUNTY OF DENVER )

I, Paxton Mills, being first duly sworn upon oath, depose
and state as follows:

1. I am a disc jockey on KOSI radio in Denver, Colorado
and currently host an adult contemporary show. I have been a
disc jockey for 30 years, starting my career with KILF in Dallas.
I first moved to Denver in 1969 and subsequently worked as a disc
jockey in San Diego, Seattle, Cleveland and Atlanta. I moved
back to Denver in ag Wil, a top 40 show at KIMN and then
moved on to KOSI where I have worked for five years.

2. I have always been a fan of the Beach Boys and their
music. I continue to play their songs on my show and enjoy their
style of music.

3. I am not aware of any reduction in airplay of Beach
Boys songs by any disc jockeys or radio stations since 1991. I
feel free to play their songs, when appropriate for the

listening audience. For example,

EXHIBIT

preferences and tastes of m

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while I often play certain kinds of Beach Boys tunes, such as
wi, ocomo", I do not typically play the "hot-rod" songs because
they would not appeal to my audience and would be incompatible
with the format of my show. Based on my knowledge of
contemporary music, I do not believe that the Beach Boys music
would be compatible with a top 40 format, although radio shows
with a different format, such as my own, continue to play them.

4. The major factor affecting the Beach Boys’ popularity
is simply that time and changing tastes in popular music has
caught up with them. I have not noticed any change in airplay
given the Beach Boys on stations with an "Oldies" format since
1991.

5. I continue to like the Beach Boys style of music and
intend to play it, as appropriate, on my radio show. I have
never read Brian Wilson's autobiography. Nothing I have heard or
learned about his book, however, has dampened my enthusiasm for
their music or caused me to reduce airplay for their songs.

FURTHER AFFIANT SAYETH NOT. /
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Bey
PaRTOW MILLS

SUBSCRIBED AND SWORN TO before me by Paxton Mills this /7*“*

day of December, 1996.

Et, kee

Notary Public

My Commission Expires:

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